                 UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA


FEDERAL TRADE COMMISSION, et al.

        v.
                                                         Case Number:      1:22CV828
SYNGENTA CROP PROTECTION AG, et al.


                            NOTICE OF HEARING
         Take notice that a proceeding in this case has been SET as indicated below:

    PLACE:             Hiram H. Ward Bldg., 251 N. Main St., Winston-Salem, NC
    COURTROOM NO: 1
    DATE & TIME:       February 28, 2025-10:00 a.m.
    PROCEEDING:        Hearing on motion to strike jury demand and cross-motion
                       for jury trial
__________________________________________________________________________

Lawrence H. Cunningham, Clerk

By: /s/ Anita Engle, Deputy Clerk

Date: February 7, 2025

TO:     All Counsel and/or Parties of Record




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